       Case 6:23-cv-06025-FPG-MWP Document 13-10 Filed 03/06/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK


  LETICIA LEE,
                                                                Case No. 6:23-cv-06025-FPG
           Plaintiff,
                                                                Removed From:
  v.
                                                                Supreme Court of the State of New
  WARNER MEDIA, LLC; HBO HOME                                   York, County of Ontario
  ENTERTAINMENT, INC.; WARNER BROS.                             Index No.: 134539-2022
  WORLDWIDE TELEVISION DISTRIBUTION
  INC.; NBC UNIVERSAL TELEVISION
  STUDIO DIGITAL DEVELOPMENT LLC; CBS
  BROADCASTING INC.; GRAMMNET NH
  PRODUCTIONS,

  Defendants.


                                     [PROPOSED] ORDER

         This matter is before the Court on the Motion to Dismiss Plaintiff LeTicia Lee’s Amended

Complaint filed by Defendants Warner Media, LLC, HBO Home Entertainment, Inc., Warner

Bros. Worldwide Television Distribution Inc., NBC Universal Television Studio Digital

Development LLC, CBS Broadcasting Inc., and Grammnet NH Productions (“Defendants”).

Having reviewed and considered the Motion and all other papers, the Court hereby GRANTS this

Motion. The Court finds that Plaintiff’s claim for copyright infringement as to Defendants’

television series “Living Single,” “Friends,” “Sex and the City,” and “Girlfriends” fails because

there is no substantial similarity of protected expression between those series and Plaintiff’s work

“Girlfriends.” Plaintiff’s amended complaint is DISMISSED WITH PREJUDICE.

         IT IS SO ORDERED.

Dated: _________________________                             _____________________________
                                                             Hon. Frank P. Geraci, Jr.
                                                             United States District Judge
